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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                    SouthernDistrict
                                                 __________ Districtof
                                                                     of__________
                                                                        Ohio

                  United States of America                           )
                             v.                                      )
                      Yaw Mintah Afari
                                                                     )       Case No. 0-
                                                                     )
                                                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of              various dates in 2021-2023          in the county of             (various)             in the
     Southern          District of              Ohio           , the defendant(s) violated:

            Code Section                                                       Offense Description
18 U.S.C. § 1001                                false statements
18 U.S.C. § 1542                                passport fraud
18 U.S.C. § 1028A                               aggravated identity theft




         This criminal complaint is based on these facts:
(see affidavit)




         ✔ Continued on the attached sheet.
         u

                                                                            Michael T Aposporos Digitally signed by Michael T Aposporos
                                                                                                Date: 2024.01.12 09:34:35 -06'00'

                                                                                               Complainant’s signature

                                                                                        Special Agent Michael Aposporos
                                                                                                Printed name and title

Sworn DQGVXEVFULEHGto before me E\UHOLDEOHHOHFWURQLFPHDQVVSHFLILFDOO\)DFH7LPHYLGHRFRQIHUHQFHLQDFFRUGDQFH
ZLWK)HG5&ULP3

Date:           Jan 12, 2024
                                                                                                  Judge’s signature

City and state:                         Cincinnati, Ohio                         StephanieK.Bowman,U.S.MagistrateJudge
                                                                                                Printed name and title
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                           UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION


 UNITED STATES
 v.                                                  Case No. 0-
 YAW MINTAH AFARI
                                                     Filed Under Seal




                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Michael Aposporos, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.     I am a Special Agent with the U.S. Department of State Diplomatic Security

Service (DSS) beginning November 1, 2022. I am a graduate of the Federal Law Enforcement

Training Center’s Criminal Investigator Training Program and the U.S. State Department Basic

Special Agent Course. I have received and continue to receive, on an ongoing basis, training in

the laws, rules, and regulations concerning the issuance and use of U.S. Passports and Visas. I

have participated in several investigations, to include those involving passport and visa fraud,

counterfeit documents, and identity theft in the course of my duties. Prior to becoming a Special

Agent, I worked as a Fraud Prevention Manager and Passport Adjudicator with the U.S.

Department of State for four years. As a Fraud Prevention Manager my duties included training

passport adjudicators to detect fraud indicators on passport applications and manage the fraud

detection program at the Washington Passport Agency and Special Issuance Agency. As a

Passport Adjudicator, I evaluated identity and citizenship documents to determine the issuance

of U.S. passports.

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       2.     I am familiar with the facts and circumstances of this case. The information

contained in this affidavit is either personally known to me, based upon my interview of various

witnesses and review of various records and publicly available information, or has been relayed

to me by other agents or sworn law enforcement personnel. Because this affidavit is being

submitted for the limited purpose of obtaining a criminal complaint and arrest warrant, I have not

included each and every fact known to me concerning the investigation. I have set forth only

those facts that I believe are necessary to establish probable cause to support the requested

complaint and arrest warrant.

       3.     Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe that violations of 18 U.S.C. § 1001 (False Statements), 18

U.S.C. § 1542 (Passport Fraud), and 18 U.S.C. § 1028A (Aggravated Identity Theft) have been

committed by YAW MINTAH AFARI.

                                      PROBABLE CAUSE

       4.     Briefly stated, there is probable cause to believe that YAW MINTAH AFARI used

another person’s identity over a period of many years.

       5.     AFARI was born in Ghana in 1977. He entered the United States in March 1999 on

a visitor’s visa. He overstayed his three-month visa.




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       6.     In July 1999, AFARI obtained a driver’s license in Virginia with his photo:




       7.     In July 2001, AFARI was charged with assault in Fairfax, Virginia.

       8.     At some point thereafter, AFARI stole the identity of his acquaintance, whose

initials are A.D. Virginia driver’s license records show that the two men lived on the same street.

In addition, when A.D. was interviewed recently, he told investigators that he had met AFARI

through a mutual acquaintance.

       9.     On May 25, 2007, AFARI was arrested in Dekalb County, Georgia on fraud charges

(case 09CR4113), but he identified himself using A.D.’s name and birth date.              He was

fingerprinted and photographed:




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       10.    It appears that AFARI’s use of A.D.’s identity first came to light on or about March

3, 2009. According to a police report from Dekalb County, Georgia, officers learned that AFARI

had used A.D.’s identity in connection with various arrests.

       11.    On June 30, 2009, AFARI was sentenced in Gwinnett County, Georgia case 09-B-

1908-6. He pled guilty to theft. According to a transcript of the hearing, AFARI was placed under

oath and admitted that he used the names A.D. and YAW AFARI, though he falsely stated that

“Andrew” was his real name. The court imposed a five-year sentence, with six months in custody

and the balance to be served on probation.

       12.    On December 15, 2009, AFARI was sentenced in Dekalb County, Georgia cases

09CR4113 and 09CR5103. He was sentenced to six years in prison for fraud and forgery in case

09CR4113. He was sentenced to 15 years on probation for theft, forgery, and fraud in case

09CR5103. Although he was charged under A.D.’s name in both cases, the judgments in each

case indicate that his correct name is “YAWMINTA AFARI.”

       13.    The Georgia Department of Corrections maintained this photograph of AFARI

(a/k/a A.D.) from his incarceration.




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           14.    Records from the Social Security Administration demonstrate that AFARI applied

    for two replacement Social Security cards under A.D.’s identity while he was in prison in Georgia.

    The first application was dated September 29, 2010 and the second was dated December 14, 2011.

    On both applications, the applicant’s address is listed as a PO Box for a state prison in Georgia.

    On both applications, the applicant’s proof of identity is listed as Georgia state prisoner ID number

    1000034771. According to records from the Georgia Department of Corrections, this number is

    associated with AFARI (a/k/a A.D.).

           15.    According to records from the Georgia Department of Corrections, AFARI was

    paroled on or about February 1, 2012.

           16.    AFARI (posing as A.D.) apparently moved to the Cincinnati area at some point in

    2018 or 2019. Ohio Law Enforcement Gateway (OHLEG) records reflect some driving infractions

    under A.D.’s identity in 2019. Hamilton County Probate Court records reflect a marriage

    certificate for A.D. and a woman with the initials D.M. on August 17, 2019.

           17.    On January 22, 2021, AFARI (posing as A.D.) obtained a replacement Social

    Security card from the Cincinnati (North) Social Security office. He identified himself as A.D.

    As proof of identity, he submitted the August 17, 2019 marriage certificate.

           18.    On February 19, 2022, AFARI submitted a passport application in Hamilton County,

    Ohio in the name of A.D., with A.D.’s date of birth and Social Security number. AFARI, posing

    as A.D., claimed that his prior passport was lost in or about April 2020. 1 In support of the

    application, AFARI submitted an affidavit from D.M., the woman he married when he was posing

    as A.D. In the affidavit, D.M. said she was the applicant’s wife and he was a U.S. citizen or


1
   In reality, there was no valid passport for A.D. in April 2020. The real A.D. obtained a passport in 2007, which
expired in 2017. He obtained a new passport in November 2021. The real A.D. showed both of these passports to
investigators when they interviewed him.
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national. The passport application contained this photograph of AFARI posing as A.D.:




       19.    The passport application was flagged because the real A.D. had recently obtained a

passport. The State Department’s Diplomatic Security Service launched an investigation. On July

30, 2022, agents interviewed the real A.D. in Virginia. As proof of his identity, A.D. presented a

variety of documents, including a certified copy of his birth certificate, a passport issued in 1994,

another passport issued in 2000, a passport issued in 2007, a passport issued in 2021, his 2020

federal tax return, and a police report he filed in 2013 complaining that he was a victim of identity

theft, among other documents. A.D. also allowed the agents to take his fingerprints.

       20.    A.D. explained that he has been seriously impacted by having his identity stolen.

For example, he stated that he was arrested in 2009 for a warrant from Stone Mountain, Georgia

for a crime that AFARI committed under A.D.’s identity. He had to travel to Georgia to clear that

up. He later had to travel to Georgia a second time and take a DNA test to prove that he was not

liable for child support payments for a child that AFARI fathered under A.D.’s name. A.D. also

explained that he lost his job as an Uber driver because of the criminal record that AFARI compiled

under A.D.’s identity.

       21.    A.D. explained that he knew AFARI when they were younger and they both lived


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in the same town in Virginia. A.D. explained that he has continuously lived in Virginia since he

arrived in the United States. This is corroborated by various government records. For example,

in 2007, A.D. was naturalized in Virginia and he obtained a Social Security card in Virginia;

meanwhile in 2007, AFARI (posing as A.D.) was arrested in Georgia. As another example, A.D.

obtained another replacement Social Security card in February 2018 in Virginia; that same month,

AFARI (posing as A.D.) was sentenced in a criminal case in Georgia. As a third example, A.D.

was photographed for his driver’s license in Virginia in December 2021 and he was interviewed

by investigators in Virginia in July 2022; in that same time frame, AFARI (posing as A.D.) applied

for a passport in Cincinnati in February 2022. In short, the evidence corroborates A.D.’s claim

that he has lived in Virginia continuously while AFARI has used A.D.’s identity in Georgia and

Ohio.

         22.   On October 13, 2023 a U.S. Department of Homeland Security forensic laboratory

compared the May 25, 2007 fingerprints from AFARI’s arrest under A.D.’s identity in Georgia

with two sets of prints under AFARI’s true identity, and determined that these three prints were

all made by the same person. The fingerprint examiner also reviewed the fingerprints taken from

A.D. when he was interviewed on July 30, 2022 and determined that these were made by a different

person than the other three aforementioned sets of prints.

                                           CONCLUSION

23.     Based on the forgoing, I request that the Court issue the proposed complaint and arrest

warrant.

                                    REQUEST FOR SEALING

24.     I further request that the Court order that all papers associated with this criminal complaint,

including this affidavit, be sealed until further order of the Court. These documents discuss an
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 ongoing criminal investigation that is neither public nor known to all of the targets of the

 investigation. Accordingly, there is good cause to seal these documents because their premature

 disclosure may give targets an opportunity to flee/continue flight from prosecution, destroy or

 tamper with evidence, change patterns of behavior, notify confederates, or otherwise seriously

 jeopardize the investigation.

                                                      Respectfully submitted,
                                                                   Digitally signed by Michael T
                                                   Michael T       Aposporos
                                                                   Date: 2024.01.12 09:34:01
                                                   Aposporos
                                                    _____________________________
                                                                   -06'00'

                                                      Michael T. Aposporos
                                                      Special Agent
                                                      Diplomatic Security Service




Subscribed and sworn to before me E\UHOLDEOHHOHFWURQLFPHDQVVSHFLILFDOO\)DFH7LPHYLGHR
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FRQIHUHQFHon January _B__, 2024.


_________________________________________
HON. STEPHANIE K. BOWMAN
UNITED STATES MAGISTRATE JUDGE




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